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                      ThJ, second page �ontai�s P�tson"l ld�ntit'iers provlcJ,cJ for law...e..-forc�ment use only
                      an" therefore should not be lileci in court with the executed warrant unless uncler seal.

                                                               (Not/or Public Disclosure)
                                       ----------------------------------------
Name of defendant/offender: Joshua Le� Hem�ndez
                     Ace Hemandez
Known aliases:      ---------""""""""'-·=-          -�---,..-�.,.,-:.�---:-�--,-------------------
Last known residence:         �efl'.Jphls, TN 38122
Prior addresses to which defendant/offender may still have ties::

Last known emplo�ent:
Last known telephone numbers:
Place of birth:
Date of birth:         xx/xx/1993
Social Security numbpr:
Height:        5'10"                                                         Weight:        180


Hair:
         Male
Sex: --,,----,.,,,,------,..---------�......;.;...........,   _________      Race:
                                                                             Eyes:
Scars, tattoos, other d,stinguishing marks:


                                            3....,,:"__r�...
History of violence, vyeapons, drug use;. ___            J__fi_ �---·:f!n
                                                                      ....__
                                                                          . e_�_t_________________________________

Known family, friend�, and other associates (name, relation. address, phone number)!. _____..;..________________

FBI number:
Complete descriptioniof auto:

Investigative agency and address:               Fede_ral �ureau of lnv��!!S:l��?".I.'.:" SA ����en .H�ie (64�).799:2621.

Name and telephone numbers (office and cell) of pretrial services or·probation officer (,fapplicable)f:



Date of last contact w�th pretrial senric� or prQbation officer (ifapplicable).:
